                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION




UNITED STATES OF AMERICA                          )
                                                  )
        v.                                        )          NO. 3:15-cr-00069
                                                  )          JUDGE SEAN F. COX
GEORGE DAVID GEORGE                               )
                                                  )

GOVERNMENT’S SUPPLEMENTAL NOTICE AND MOTION IN LIMINE TO ADMIT
                         EVIDENCE

        The United States, by and through the undersigned Assistant United States Attorney,

hereby supplements its original notice and motion in limine regarding the defendant’s use of

vicitms’ credit cards (D.E. 90) to add WellCity investors Brenda Wilhoite and Gary Austin. Since

its original filing, and in the course of preparing for trial in this case, the Government has learned

that the defendant also made numerous unauthorized charges to these two victims’ credit cards.

   I.        Background

        The defendant is charged with crimes stemming from his scheme to use his company,

WellCity, to defraud investors and lenders, between March 2011 and April 2014. See generally

D.E. 70 (superseding indictment). Brenda Wilhoite and Gary Austin are among the victims who

loaned the defendant money and /or invested in WellCity.

             a. Brenda Wilhoite

        Brenda Wilhoite worked at the same residential real estate firm as the defendant’s wife. At

the time of the defendant’s fraud on Ms. Wilhoite, she was best friends with the defendant’s wife

and had recently received a settlement payment from a car crash. The defendant approached



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Wilhoite about making a short-term loan to him in relation to his work with WellCity, promised

her that she bore no risk and also promised a favorable rate of return. The repayment date on the

loan came and went but the defendant did not repay Ms. Wilhoite.

       At some point thereafter, the defendant convinced Ms. Wilhoite that if she purported to be

a WellCity employee and opened a credit card in her name and the name of WellCity, she could

recoup her loan by making charges to the card that WellCity would then pay off by making

payments on the card. In fact, once Wilhoite opened a WellCity credit card in her name, the

defendant used the card to make tens of thousands of dollars in charges in her name. Neither the

defendant, nor WellCity, made payments on the credit card.

           b. Gary Austin

       Gary Austin met the defendant through his friend, Scot Holloway (another WellCity

investor and victim in this case). Between 2011 and 2014, Austin invested hundreds of thousands

of dollars with the defendant and WellCity. Austin watched numerous “repayment” dates come

and go without receiving any money. During the same period, the defendant continued to solicit

more money from him. The defendant often promised Austin that a little more money would allow

him (the defendant) to “close the deal” and repay Austin.

       At some point during the course of the defendant’s fraud on Austin, Austin provided the

defendant his credit card information. George led Austin to believe that the credit card would be

used to pay for legal fees associated with “closing a deal.” In fact, defendant used Austin’s credit

card to make numerous unauthorized charges including commercial airline flights from Nashville

to Las Vegas, Nevada.




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    II.       Discussion

           For the same reasons stated in the Government’s Notice and Motion in Limine (D.E. 90),

the evidence set out above is intrinsic to the defendant’s scheme to defraud victims. Further, the

evidence clearly demonstrates the defendant’s intent and plan to defraud the victims in this case,

including Brenda Wilhoite and Gary Austin, and is therefore admissible under Fed. R. Evid.

404(b). Finally, as set out in D.E. 90, this evidence is more probative than prejudicial, and

therefore admissible under Fed. R. Evid. 403.

    III.      Conclusion

           WHEREFORE, the Government respectfully moves the Court to admit at trial in the above-

captioned matter the credit card evidence as set out above and, hereby provides notice of its intent to use

said evidence in its case-in-chief. This evidence is admissible under the res geste doctrine as well as

to prove the defendant’s intent and plan under Fed. R. Evid. 404(b).



                                                         Respectfully submitted,

                                                         JACK SMITH
                                                         Acting United States Attorney

                                                         /s Henry C. Leventis
                                                         HENRY C. LEVENTIS
                                                         RYAN R. RAYBOULD
                                                         Assistant United States Attorneys
                                                         110 Ninth Avenue South, Suite A-961
                                                         Nashville, Tennessee 37203-3870
                                                         Telephone: (615) 736-5151




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy of the foregoing document has

been served through the electronic case filing system upon Peter J. Strianse, counsel for the

defendant upon this 24th day of April 2017.


                                               s/ Henry C. Leventis
                                               HENRY C. LEVENTIS
                                               Assistant United States Attorney




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